
286 S.W.3d 682 (2008)
M.H., a Juvenile, Petitioner,
v.
STATE of Arkansas, Respondent.
No. 08-312.
Supreme Court of Arkansas.
September 4, 2008.
Law Offices of Craig L. Cook, Paris, for appellant.
No response.
PER CURIAM.
Petitioner M.H. filed a motion for belated appeal and motion for anonymity with this court after he was found guilty of rape and adjudicated delinquent by the Franklin County Circuit Court. This court remanded the matter to the trial court for an evidentiary hearing to determine whether Petitioner notified his trial counsel, William M. Pearson, of his desire for an appeal within the time allowed for the filing of a notice of appeal. See M.H. v. State, 373 Ark. 112, 281 S.W.3d 747 (2008) (per curiam). We directed the trial court to enter Findings of Fact and Conclusions of Law and to submit such findings and conclusions with a transcript of the evidentiary hearing.
*683 Following the evidentiary hearing, the trial court entered an order on June 23, 2008, finding that there was insufficient evidence to conclude that Petitioner was given proper notice of his right to appeal. The trial court also relieved Mr. Pearson as counsel, and appointed the Law Offices of Craig L. Cook to represent Petitioner for purposes of filing an appeal.
Now that the record is settled, we may consider Petitioner's motion for belated appeal. We hold that the trial court's finding that there was insufficient evidence that Petitioner was properly advised of his right to appeal by Mr. Pearson is good cause for granting the motion for belated appeal, and grant the appeal. See McDonald v. State, 356 Ark. 106, 146 S.W.3d 883 (2004). The motion for anonymity is also granted. A copy of this opinion, along with a copy of the trial court's findings and transcript, will be forwarded to the Committee on Professional Conduct for any necessary action because of Mr. Pearson's handling of this case.
Motion for belated appeal granted; motion for anonymity granted.
